Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 1 of 18 PageID #: 4239




                                 UNITED STATES DISTRICT COURT
                                 E,ASTERN DISTRICT OF MISSOURI
                                       E,ASTERN DIVISION

    IINITED STATES OF AMERICA.                          )
                                                        )
        Plaintiff,                                      )
                                                        )
    V                                                   )   No. 4:18-CR-00565-CDP
                                                        )
    DEMETRIUS TYRESE JOHNSON,                           )
     aka "Meechie"; "DJ"; "Huncho,"                     )
                                                        )
        Defendant.

                                   GUILTY PLEA AGREEMENT

           Come now the parties and hereby agree, as follows:

I          PARTIES:

           The parties are the defendant Demetrius Tyrese JOHNSON, represented by defense

counsel Justin Gelfand and William Margulis, and the United States of America (hereinafter

"United States" or "Government"), represented by the Office of the United States Attomey for the

Eastern District      of Missouri. This agreement does not, and is not         intended to, bind any

goveflrmental office or agency other than the United States Attorney for the Eastern District of

Missouri. The Court is neither a party to nor bound by this agreement. However, if the Court

accepts the plea agreement as to the sentence or sentencing range, then the Court     will   be bound by

said agreement pursuant to Federal Rule of Criminal Procedure 11(c)(1XC).

2.         GUILTY PLEA:

           Pursuant   to   Federal Rule   of Criminal Procedure 11(c)(1)(C), in     exchange     for   the

defendant's voluntary plea of guilty to Counts One and Two of the Superseding Information, the

government agrees that no further federal prosecution       will be brought in this District relative to

                                                    1
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 2 of 18 PageID #: 4240




the defendant's participation in a conspiracy to distribute heroin, fentanyl, and other controlled

substances between September of 2014 and the date of this plea, of which the Government is aware

at this   time. This includes the understanding that no further federal prosecution will   be brought   in

this District relative to the defendant's distribution of fentanyl on or about October 14,2016, or

relative to the death     of J.W. as a result of the ingestion of said fentanyl. The defendant
acknowledges that this disposition confers upon the defendant the benefit of not exposing him to

the twenty (2})-year mandatory minimum sentence that would be required if the defendant were

to be convicted of Count Two, as charged in the First Superseding Indictment (Doc. #179).

          Additionally, the Govemment agrees that no fuither prosecution will be brought in this

District against the defendant relative to his role in the homicide of David Bryant on December 3,

2016, which occurred in cormection with the drug trafficking conspiracy outlined herein. The

parties agree that, pursuant to United States Sentencing Guidelines Section lBl.2(a), the fact that

David Bryant was murdered in furtherance of the drug trafficking conspiracy constitutes part of

the "offense of conviction" such that Section 1B1.2(a) calls for the Court to apply the guidelines

applicable     to the more serious offense rather than the offense charged in the           Superseding

Information.

           In addition, pursuant to Rule 11(c)(1)(C), Federal Rules of Criminal Procedure, the

parties agree that the defendant's sentence should be 180 months (15 years). This agreement

shall abide, notwithstanding the application or non-application of any particular Sentencing

Guidelines, including any Guidelines contemplated by this agreement. If the Court informs the

parties prior to sentencing that it will reject this agreement that it intends to sentence defendant to

a sentence not in conformity with this agreement, then either party may withdraw from the plea


                                                    2
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 3 of 18 PageID #: 4241




agreement and the defendant    will   have an opportunity to withdraw his guilty plea pursuant to Rule

11(c)(5). In the event either party withdraws from the agreement, any statements made by any

party in this agreement shall not be admissible in any trial of this case. The parties further agree

that neither party shall request a sentence above or below the sentencing agreement in this

paragraph pursuant to any chapter of the Guidelines,      Title 18, United States Code, Section 3553,

or any other provision or rule oflaw not addressed herein.

       The defendant also agrees, pursuant to the guilty plea to both counts ofthe Superseding

Information, to forfeit to the United States all property subject to forfeiture under the applicable

statute(s), including but not limited to:

            .   Approximately $3,137.00 U.S. Currency seized on July 18, 2018;
            .   Approximately $61,980.00 U.S. Currency seized on July 18, 2018;
            .   Smith and Wesson 9mm semi-automatic pistol;
            o   Taurus 9mm semi-automatic pistol;
            .   Glock model 19, 9mm semi-automatic pistol;
            .   Glock model I7,9xl9 caliber semi-automatic pistol;
            .   Glock 23C model, .40 caliber semi-automatic pistol;
            .   SCCY CPX-Z 9mm Handgun;
            .   Anderson Arms AR-15 Rifle;
            o   Glock 27 Prstol,.4O caliber;
            o   Taurus G2C 9mm Pistol;
            o   Anderson Manufacturing AM15 Rifle;
            .   Glock 22C .40 caliber Pistol;
            .   Mossberg.22 Rifle;
            o   Savage 67H12 gauge Shotgun;
            o   Intratec CAT45 .45 caliber Pistol; and a
            .   Glock 2l .45 caliber semi-automatic pistol.

3. ELEMENTS
        Count One




                                                    a
                                                    J
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 4 of 18 PageID #: 4242




       As to Count One of the Superseding Information, the defendant admits to knowingly

violating Trtle2l, United States Code, Sections 846 and 841, and admits there is a factual basis

for the plea and further fully understands that the elements of the crime are:

       (a) Beginning at an unknown time, but including September of 2014 and through the date

           of this Superseding Information, within the Eastern District of Missouri, the defendant

           and his co-defendants, and/or other persons known and unknown to the government,

           reached an agreement or came to an understanding to distribute and possess, with the

           intent to distribute, mixtures or substances containing detectable amounts of fentanyl;

           and

       (b) That the defendant voluntarily and intentionally joined           in the agreement     or

           understanding, either at the time it was first reached or at some time while it was still

           in effect; and

       (c) That at the time the defendant joined in the agreement or understanding, he knew the

           purpose of the agreement; and

       (d) That the quantity of fentanyl attributable to the defendant, as part of his participation

           in the conspiracy, and as a result of his own conduct and the conduct of           other

           conspirators reasonably foreseeable to him, is more than 400 grams.

       Count Two

       As to Count Two of the Superseding Information, the defendant admits to knowingly

violating Title 18, United States Code, Section 922(9), and admits there is a factual basis for the

plea and further fully understands that the elements of the crime are:




                                                 4
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 5 of 18 PageID #: 4243




       (a) On or about July 18, 2018, within the Eastern District of Missouri, the defendant

           knowingly and intentionally possessed one or more firearms; and

       (b) That prior to July i 8, 2018, the defendant had been convicted of one or more crimes

           punishable by a term of imprisonment exceeding one year; and

       (c) That on July 18, 2018, the defendant knew that he had been convicted of one or more

           crimes punishable by a term of imprisonment exceeding one year; and

       (d) That the aforementioned firearms traveled        in   interstate commerce prior     to     the

           defendant's possession ofthem on July 18,2018.

4      FACTS:

       The parties agree that the facts in this case are as follows and that the government would

prove these facts beyond a reasonable doubt if the case were to go to   trial.   These facts may be

considered as relevant conduct pursuant to Section 1B1.3:

       Beginning at an unknown time, but up to and including September of 2014 and through the

date of this Superseding Information, defendant Demetrius Tyrese JOHNSON agreed with and led

his co-defendants in distributing heroin and fentanyl to drug customers seeking fentanyl in the St.

Louis Metropolitan area, within the Eastern District of Missouri. JOHNSON maintained at least

one cellular telephone, which he passed around to various members of the conspiracy for the

purpose of having the possessor of the phone distribute narcotics on his behalf. JOHNSON would

then collect a portion of the drug proceeds in return. In addition to acting as a leader and

orchestrating the passing around    of   these phones, JOHNSON also occasionally maintained

possession of the phone and acted as a distributor himself, dealing fentanyl to customers who

would contact the telephone number.


                                                 5
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 6 of 18 PageID #: 4244




        On or about October 14,2076, C.C., whose identity is known to the parties, contacted the

telephone number (314) 537-0649 for the purpose of obtaining fentanyl. This phone number was

one of the phones maintained by JOHNSON which he passed around to other members of the

conspiracy. C.C. purchased an amount of fentanyl from JOHNSON on that date, then used some

of it himself while also sharing some with J.W., whose identity is known to the parties. On October

15, 2016, members of J.W.'s family found her deceased in her home. The Medical Examiner

determined that J.W. died as a result of acute fentanyl intoxication. Testimony at trial would

establish that, but for the fentanyl she ingested that came from JOHNSON, J.W. would not have

died.

        On or about December 2,20|6,JOHNSON contacted Christopher Rhodes at phone number

(314) 267-5221 while JOHNSON was incarcerated at the St. Louis City Justice Center.

JOHNSON inquired about the whereabouts of the cellular telephone and/or telephones being used

by the co-conspirators to distribute fentanyl and heroin, asking Rhodes if "you got them lines on

you." Rhodes informed JOHNSON that Armond Calvin, who also goes by the alias "Mon,"            had

the phones, and proceeded to update JOHNSON on the status of the conspiracy, including that a

rival drug dealer was attempting to steal customers from Rhodes and other co-conspirators and

that Rhodes wanted to retaliate.

        On or about December 3,2016, Christopher Rhodes and Armond Calvin, co-conspirators

who were distributing fentanyl on behalf of JOHNSON's organization, contacted JOHNSON in

need of a firearm because they encountered David Bryant selling fentanyl to a drug customer who

had been planning to purchase drugs from Rhodes and Calvin in the parking lot of a Jack-in-the-

Box located in the City of St. Louis. JOHNSON had been released from custody the previous


                                                 6
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 7 of 18 PageID #: 4245




night, and Calvin had briefly returned JOHNSON's Glock 27,.40 caliber firearm to him.

Following the theft of their customer by Bryant in the Jack-in-the-Box parking lot, Rhodes and

Calvin advised JOHNSON of the situation and met with JOHNSON at or near the parking lot of

the Family Dollar store located at 4250 South Broadway. There, JOHNSON provided them with

his Glock 27, .40 caliber firearm with a laser sight for the purpose of retaliating against victim

Bryant for stealing their drug customer. While Rhodes drove, Calvin used the firearm JOHNSON

had provided and hred multiple shots into the blue 2013 Dodge Avenger in which Bryant was

riding, killing Bryant in the 4300 block of Oregon in the City of St. Louis, within the Eastern

District of Missouri. Jail calls placed by James Fields to Calvin and other unindicted conspirators

at phone number (314) 267-5221 following the homicide referred to the firearm as being

"Meechie's" gun. "Meechie" is one of JOHNSON's aliases.

         On or about July 18, 2078, as part of the arrest operation on this case, JOHNSON was

arrested and a search warrant was executed at his residence      at 1264 Grant in St. Louis County.

During their search of the residence, officers located a Glock model 22 with a loaded magazine, a

Springfield Armory SD firearm with a loaded magazine, and an Anderson Manufacturing AMl5

with loaded magazine that belonged to JOHNSON. The parties agree that JOHNSON was a

convicted felon and knew ofhis status as a convicted felon prior to and during his possession       of

the firearms and was, therefore, prohibited from possessing them. The parties further agree that all

of the firearms traveled in interstate commerce prior to JOHNSON's possession of it on July 18,

201 8.


         While the amount of fentanyl attributable to the defendant as a result of his participation in

the drug trafficking conspiracy is not subject to precise calculation, the parties agree that the


                                                   7
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 8 of 18 PageID #: 4246




amount of fentanyl for which the defendant is accountable, including the reasonably foreseeable

conduct of his co-conspirators, is more than 400 grams and less than 1.2 kilograms. Expert

testimony presented attrialwould establish that this amount of fentanyl is consistent with the intent

to distribute the substance, as opposed to personal use.

5.        STATUTORY PENALTIES:

          C     One

         The defendant fully understands that the maximum possible penalty provided by law for

the crime to which the defendant is pleading guilty is imprisonment of not more than life, a fine   of

not more than $10,000,000.00, or both such imprisonment and fine. The Court shall also impose

a   period of supervised release of not less than five (5) years. The defendant also fully understands

that the crime to which a guilty plea is being entered requires a mandatory minimum term of

imprisonment of at least ten (10) years.

          Count Two

          The defendant fully understands that the maximum possible penalty provided by law for

the crime to which the defendant is pleading guilty is imprisonment of not more than ten (10)

years, a fine of not more than $250,000.00, or both such imprisonment and       fine. The Court shall

also impose a period of supervised release of not more than three (3) years.

6.        U. S. SENTENCING GUIDELINES: 20 18 MANUAL

          The defendant understands that this offense is affected by the U. S. Sentencing Guidelines

and the actual sentencing range is determined by both the Total Offense Level and the Criminal

History Category. To assist the Court in determining the impact of the plea agreement, the parties

submit the following U.S. Sentencing Guidelines analysis:


                                                   8
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 9 of 18 PageID #: 4247




COUNT ONE CALCULATIONS

       a.      Chapter 2 Offense Conduct:

               (1)   Base Offense   Level: As agreed to herein, the facts constitute first-degree

murder under Title 18, United States Code, Section 1 i 1 1, as the murder occurred in furtherance   of

the drug trafficking offense outlined above. The parties agree that the Base Offense Level found

in Section 2A1.1 is 43.

               (2)   Specific Offense Characteristics: The parties agree that the following

Specific Offense Characteristics   apply:   None.

       b.      Chapter 3 Adiustments:

               (1)   Acceptance of Responsibilify: The parties recommend that two (2) levels

should be deducted pursuant to Section 3E1 .1(a), because the defendant has clearly demonstrated

acceptance of responsibility.

               (2)    Other Adiustments: The parties agree that the following additional

adjustments apply:

       The parties agree that four (4) points should be added pursuant to Section 381.1(a), as the

defendant was an organizer or leader of the drug trafficking organization outlined herein that

involved five or more participants or was otherwise extensive.

        c.     Other Adiustment(s)/Disputed Adiustments: None.

        d.     Estimated Total Offense Level: The parties estimate that the Total Offense Level

is 45, unless defendant is a Career Offender. Pursuant to Section 5, application note 2, if the Total

Offense Level is greater than43, the offense level is to be treated as an offense level of 43.

COUNT TWO                       TIONS


                                                    9
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 10 of 18 PageID #: 4248




 a.        Chapter 2 Offense Conduct:

                    (1) Base Offense Level: The parties     agree that the base offense level is found   in

 Section   2K2.t and depends on the nature of the firearm, the defendant's criminal history and other

 factors therein.

                    (2)   Snecific Offense Characteristics: The parties agree that the following

 Specific Offense Characteristics     apply:   None.

           b.       Chapter 3 Adiustments:

                    (1)   Acceptance of Responsibility: The parties recommend that two (2) levels

 should be deducted pursuant to Section 3E1.1(a), because the defendant has clearly demonstrated

 acceptance of responsibility.

                    (2)    Other Adiustucnlq:     The parties agree that the following additional

 adjustmentsapply: None.

           c.       OtherAdiustment(s)/DisputedAdiustments: None

           d.       Estimated Total Offense Level: The parties estimate that the Total Offense Level

 is 14, 20, or 24, as found in      Sentencing Guidelines $ 2K2.1(a), unless defendant is a Career

 Offender or Armed Career Criminal. Depending on the underlying offense and defendant's

 criminal history, defendant could be a Career Offender pursuant to Section 4B1.1 or an Armed

 Career Criminal pursuant to Title 18, United States Code, Section 92a@) and Section 4lr-1.4.            If
 the Court finds defendant is a Career Offender or an Armed Career Criminal or both, the Total

 Offense Level may be higher and the Criminal History Category may be as high as Category VI.

 Defendant has discussed these possibilities with defense counsel. Both parties reserve the right to

 argue that the defendant is or is not a Career Offender or an Armed Career Criminal.



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Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 11 of 18 PageID #: 4249




CALCULATIONS APPLICABLE TO ALL COUNTS

          e.      Criminal Historv: The determination of the defendant's Criminal History

Category shall be left to the Court. Either party may challenge, before and at sentencing, the

finding of the Presentence Report as to the defendant's criminal history and the applicable category.

The defendant's criminal history is known to the defendant and is available in the Pretrial Services

Report.

          f.     Effect of Parties' U.S. Sentencins Guidelines Analysis:

          The parties agree that the Court is not bound by the Guidelines analysis agreed to herein.

The parties may not have foreseen all applicable Guidelines. The Court may, in its discretion,

apply or not apply any Guideline despite the agreement herein and the parties shall not be permitted

to withdraw from the plea agreement. But, if the Court accepts the plea agreement in this case, it

is bound by the sentencing agreement in paragraph 2 above. And,           if the Court   rejects the plea

agreement as to the particular sentence agreed to by the parties in paragraph2 above,the defendant

will   be allowed to withdraw his guilty plea pursuant to Rule 11(cX5).

7.        WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

          a.     Appeal: The     defendant has been    fully apprised by     defense counsel      of   the

defendant's rights concerning appeal and    fully understands the right to appeal the sentence under

Title   18, United States Code, Section 3742.

                 (1)   Non-Sentencins Issues: The parties waive all rights to appeal all non-

jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

motions, discovery and the guilty plea, the constitutionality of the statute(s) to which defendant is

pleading guilty and whether defendant's conduct falls within the scope of the statute(s).


                                                  11
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 12 of 18 PageID #: 4250




                (2) Sentencing Issues: In the event the Court accepts the plea and, in sentencing

the defendant follows the sentencing agreement in paragraph 2,then, as part of this agreement, the

parties hereby waive all rights to appeal all sentencing issues.

        b.      Habeas Corpus: The defendant agrees to waive all rights to contest the conviction

or sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance of

counsel.

        c       RiehtlalRaeatlb:    The defendant waives all rights, whether asserted directly or by

a representative, to request from any department or agency of the United States any records

pertaining to the investigation or prosecution of this case, including any records that may be sought

under the Freedom of Information Act, Title 5, United States Code, Section 522, or the Privacy

Act, Title 5, United States Code, Section 552(a).

8.      OTHER:

        a.      Disclosures Required by the United States Probation Office:

        The defendant agrees to truthfully complete and sign forms as required by the United States

Probation Office prior to sentencing and consents to the release of these forms and any supporting

documentation by the United States Probation Office to the government.

        b.      Civil or Administratiye Aqtions not Barred; Effect on
Aqencies:

                Nothing contained herein limits the rights and authority of the United States to take

 any civil, tax, immigration/deportation or administrative action against the defendant.

        c       Sunervi      Release:   Pursuant    to any supervised release term, the Court will

impose standard conditions upon the defendant and may impose special conditions related to the

                                                   t2
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 13 of 18 PageID #: 4251




crime defendant committed. These conditions will be restrictions on the defendant to which the

defendant    will be required to adhere. Violation of the conditions of supervised release resulting

in revocation may require the defendant to serve a term of imprisonment equal to the length of the

term of supervised release, but not greater than the term set forth in Title 18, United States Code,

Section 3583(e)(3), without credit for the time served after release. The defendant understands

that parole has been abolished.

        d.       Mandatory           I   Assessment:   Pursuant   to Title 18, United     States Code,

Section 3013, the Court is required to impose a mandatory special assessment of $100 per count

for a total of $200, which the defendant agrees to pay at the time of sentencing. Money paid by

the defendant toward any restitution or fine imposed by the Court shall be first used to pay any

unpaid mandatory special assessment.

        e.       Possibilitv of Detention: The defendant may be subject to immediate detention

pursuant to the provisions of Title 18, United States Code, Section 3143

        f.       Fines, Restitution and Costs of Incarceration and Sunervision       :   The Court may

impose a frne, restitution (in addition to any penalty authorized by law), costs of incarceration and

costs of supervision. The defendant agrees that any fine or restitution imposed by the Court       will

be due and payable immediately. Pursuant to Title 18, United States Code, Section 3663A, an

order of restitution is mandatory for all crimes listed in Section 3663A(c). Regardless of the Count

of conviction, the amount of mandatory restitution imposed shall include all amounts allowed by

 Section 3663A(b) and the amount of loss agreed to by the parties, including all relevant conduct

loss. The defendant agrees to provide full restitution to all victims of all charges in the Superseding

Information.


                                                  13
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 14 of 18 PageID #: 4252




          g.       Forfeiture: The defendant agrees the stipulated facts above are sufficient      to

support forfeiture of certain assets pursuant to the applicable forfeiture authorities. Defendant

specifically agrees to the forfeiture of the following:

               .   Approximately $3,137.00 U.S. Currency seized on July 18,2018;
               .   Approximately $61,980.00 U.S. Currency seized on July 18,2018;
               .   Smith and Wesson 9mm semi-automatic pistol;
               .   Taurus 9mm semi-automatic pistol;
               o   Glock model 19, 9mm semi-automatic pistol;
               o   Glock model 17 ,9x19 caliber semi-automatic pistol;
               o   Glock 23C model, .40 caliber semi-automatic pistol;
               o   SCCY CPX-2 9mm Handgun;
               o   Anderson Arms AR-15 Rifle;
               o   Glock 27 Pistol, .40 caliber;
               o   Taurus G2C 9mm Pistol;
               o   Anderson Manufacturing AM15 Rifle;
               .   Glock 22C .40 caliber Pistol;
               o   Mossberg.22 Rifle;
               o   Savage 67H12 gauge Shotgun;
               o   Intratec CAT45 .45 caliber Pistol; and a
               .   Glock 2l .45 caliber semi-automatic pistol.

           The defendant agrees the Court may enter a consent preliminary order of forfeiture any

time before sentencing, and such Order will become final as to the defendant when it is issued and

will   be part of the sentence. The defendant agrees not to object to any administrative, civil or

 criminal forfeiture brought against any assets subject to forfeiture. The defendant will execute any

 documents and take all steps needed to transfer title or ownership of said assets to the government

 and/or   to rebut the claims of   nominees and/or alleged third party owners. The defendant

knowingly and intelligently waives all constitutional and statutory challenges to any forfeiture

 carried out in accordance with this plea agreement, including but not limited to that defendant was

not given adequate notice of forfeiture in the charging instrument.




                                                  t4
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 15 of 18 PageID #: 4253




        The defendant knowingly and voluntarily waives any right, title, and interest in all items

seized by law enforcement officials during the course of their investigation, whether or not they

are subject to forfeiture, and agrees not to contest the vesting of   title of such items in the United

States. The defendant agrees that said items may be disposed of by law enforcement officials in

any manner.

9               OWLEDGMENT                                        DEFENDANT'S RI

        In pleading guilty, the defendant acknowledges, fully understands and hereby waives his

rights, including but not limited to: the right to plead not guilty to the charges; the right to be tried

by a jury in a public and speedy trial; the right to file pretrial motions, including motions to

suppress evidence; the right at such    trial to a presumption of innocence; the right to require the

government to prove the entire case against the defendant beyond a reasonable doubt; the right not

to testify; the right not to present any evidence; the right to be protected from compelled self-

incrimination; the right at trial to confront and cross-examine adverse witnesses; the right to testiff

and present evidence and the right to compel the attendance of witnesses. The defendant further

understands that by this guilty plea, the defendant expressly waives all the rights set forth in this

 paragraph.

        The defendant fully understands that the defendant has the right to be represented by

 counsel, and ifnecessary, to have the Court appoint counsel at trial and at every other stage     ofthe

 proceeding. The defendant's counsel has explained these rights and the consequences ofthe waiver

 of these rights. The defendant fully understands that, as a result of the guilty plea, no trial will, in

 fact, occur and that the only action remaining to be taken in this case is the imposition of the

 sentence.



                                                   15
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 16 of 18 PageID #: 4254




        The defendant is   fully satisfied with the representation received from defense counsel. The

defendant has reviewed the government's evidence and discussed the government's case and all

possible defenses and defense witnesses with defense counsel. Defense counsel has completely

and satisfactorily explored all areas which the defendant has requested relative to the govemment's

case and any defenses.

        The guilty plea could impact defendant's immigration status or result in deportation. In

particular, if any crime to which defendant is pleading guilty is an "aggravated felony" as defined

by Title 8, United States Code, Section 1101(a)(a3), removal or deportation is             presumed

mandatory. Defense counsel has advised the defendant ofthe possible immigration consequences,

including deportation, resulting from the plea.

 10.    VOLUNT ARY NA              ]RE OF THE GUILTY PLEA AND                   EA AGRE

        This document constitutes the entire agreement between the defendant and the government,

and no other promises or inducements have been made, directly or indirectly, by any agent of the

 government, including any Department of Justice attomey, concerning any plea to be entered in

this case. In addition, the defendant states that no person has, directly or indirectly, threatened or

 coerced the defendant to do or refrain from doing anything     in connection with any aspect of this

 case, including entering a plea   of guilty.

        The defendant acknowledges that the defendant has voluntarily entered into both the plea

 agreement and the guilty   plea. The defendant further acknowledges that this guilty plea is made

 of the defendant's own free will and that the defendant is, in fact, guilty.

 11.    CONSEOUENCES OF'PO ST-PLEA MISCONDUCT:




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Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 17 of 18 PageID #: 4255




       After pleading guilty and before sentencing, if defendant commits any crimes, violates any

conditions of release, violates any term of this guilty-plea agreement, intentionally provides

misleading, incomplete or untruthful information to the U.S. Probation Office or fails to appear

for sentencing, the United States will be released from its obligations under this agreement. The

Government may also, in its discretion, proceed with this agreement and may advocate for any

sentencing position supported by the facts, including but not limited to obstruction ofjustice and

denial of acceptance of responsibility.




                                                17
Case: 4:18-cr-00565-CDP Doc. #: 856 Filed: 09/10/20 Page: 18 of 18 PageID #: 4256
